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     ATTORNEYS FOR PLAINTIFF
11

12                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF IDAHO
13
                                        SOUTHERN DIVISION
14

15                                                    CIVIL ACTION NO.
      EQUAL EMPLOYMENT OPPORTUNITY
16
      COMMISSION,
                         Plaintiff                    COMPLAINT
17
                             v.
18
                                                      JURY TRIAL DEMAND
19    VERITY PROPERTY MANAGEMENT,
      INC.,
20
                        Defendant.
21

22

23
                                         NATURE OF THE ACTION

24          This is an action under Title I of the Americans with Disabilities Act, as amended by the

25   ADA Amendments Act of 2008, 42 U.S.C. § 12101 et. seq., (“ADA” and “ADAAA”) to correct
26
     unlawful employment practices on the basis of disability and to provide appropriate relief to


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     Kayla Cammack who was adversely affected by such practices. The Equal Employment
1

2    Opportunity Commission (“EEOC”) alleges that Verity Property Management Inc.

3    (“Defendant”) discriminated against Ms. Cammack, a qualified individual with a disability, when

4    it terminated her employment on March 8, 2018 on the basis of disability. EEOC further alleges
5
     that Defendant made unlawful medical inquiries prior to an offer of employment and failed to
6
     satisfy its record keeping obligations in violation of the ADA.
7
                                        JURISDICTION AND VENUE
8
            1.       Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,
9

10   1343 and 1345. This action is authorized and instituted pursuant to Section 107(a) of the

11   Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C. § 12117(a), which incorporates by
12   reference Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
13
     2000e-5(f)(1) and (3) ("Title VII"), and pursuant to Section 102 of the Civil Rights Act of 1991,
14
     42 U.S.C. § 1981a.
15
            2.       The employment practices alleged to be unlawful were committed within the
16

17
     jurisdiction of the United States District Court for the District of Idaho.

18                                                 PARTIES

19          3.       Plaintiff, the Equal Employment Opportunity Commission (the "Commission" or
20
     “EEOC”), is the agency of the United States of America charged with the administration,
21
     interpretation and enforcement of Title I of the ADA and is expressly authorized to bring this
22
     action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference
23
     Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. 2000e-5(f)(1).
24

25          4.       At all relevant times, Defendant has continuously been doing business in the State

26   of Idaho and has continuously had at least 15 employees.



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            5.       At all relevant times, Defendant has continuously been an employer engaged in an
1

2    industry affecting commerce under Section 101(5) of the ADA, 42 U.S.C. § 12111(5), and

3    Section 101(7) of the ADA, 42 U.S.C. § 12111(7), which incorporates by reference Sections

4    701(g) and (h) of Title VII, 42 U.S.C. §§ 2000e(g) and (h).
5
            6.       At all relevant times, Defendant has been a covered entity under Section 101(2) of
6
     the ADA, 42 U.S.C. § 12111(2).
7
                                     ADMINISTRATIVE PROCEDURES
8
            7.       More than thirty (30) days prior to the institution of this lawsuit, Charging Party
9

10   Kayla Cammack filed a charge with the EEOC alleging violations of Title I of the ADA by

11   Defendant.
12          8.        On February 7, 2019, the Commission issued to Defendant a Letter of
13
     Determination finding reasonable cause to believe that Title I of the ADA was violated and
14
     inviting Defendant to join with the Commission in informal methods of conciliation to endeavor
15
     to eliminate the discriminatory practices and provide appropriate relief.
16

17
            9.       The Commission engaged in communications with Defendant to provide

18   Defendant the opportunity to remedy the discriminatory practices described in the Letter of

19   Determination.
20
            10.       The Commission was unable to secure from Defendant a conciliation agreement
21
     acceptable to the Commission.
22
            11.      On March 28, 2019, the Commission issued to Defendant a Notice of Failure of
23
     Conciliation.
24

25          12.      All conditions precedent to the institution of this lawsuit have been fulfilled.

26




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                                          STATEMENT OF CLAIMS
1

2            13.     Since at least February 26, 2018, Defendant has engaged in unlawful employment

3    practices in violation of Sections 102(a) and 102(b)(5) of Title I of the ADA, 42 U.S.C. §§

4    12112(a) and 12112(b)(5). Defendant discriminated against Kayla Cammack, a qualified
5
     individual with a disability, when it terminated her from her Leasing Agent job on March 8,
6
     2018.
7
             14.     Defendant hired Cammack as a Leasing Agent on or about February 26, 2018
8
     after concluding that she had the requisite background, skill, and experience to perform the
9

10   essential functions of the job.

11           15.     Defendant regarded Ms. Cammack as having a disability by subjecting her to an
12   adverse employment action when it terminated her employment because of an actual or
13
     perceived impairment, when it learned that Ms. Cammack took medications prescribed to her to
14
     treat a medical condition.
15
             16.     Since at least February 26, 2018, Defendant has engaged in unlawful employment
16

17
     practices in violation of section 102 of the ADA, 42 U.S. section 12112(d)(2)(A) in that it had a

18   practice of making unlawful medical inquires of job applicants by seeking disclosure of any drug

19   use, including prescription drug use, prior to an offer of employment.
20
             17.     On or about February 26, 2018, Defendant’s President made an unlawful medical
21
     inquiry in violation of section 102 of the ADA, 42 U.S.C. section 12112(d)(2)(A) when, before
22
     making a conditional job offer to Ms. Cammack, Defendant’s President asserts he advised her
23
     that she should disclose any drug use, including prescription drug use.
24

25           18.     Since at least March 22, 2018, Defendant has failed, in violation of Section

26   107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Section 709(c) of



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     Title VII, 42 U.S.C. § 2000e-8(c), to make and preserve records relevant to the determination of
1

2    whether unlawful employment practices have been or are being committed in that it failed to

3    preserve records related to job applicants it did not hire.

4            19.      The effect of the practices complained of in paragraphs 13-18 above have been to
5
     deprive Ms. Cammack and other Defendant employees and applicants of equal employment
6
     opportunities and otherwise adversely affect her status as an employee because of her perceived
7
     disability.
8
             20.      The unlawful employment practices complained of in paragraphs 13-18 above
9

10   were and are intentional.

11           21.       The unlawful employment practices complained of in paragraphs 13-18 above
12   were done with malice or with reckless indifference to the federally protected rights of Ms.
13
     Cammack and other Defendant employees and applicants.
14
                                            PRAYER FOR RELIEF
15
             Wherefore, the Commission respectfully requests that this Court:
16

17
             A.       Grant a permanent injunction enjoining Defendant, its officers, agents, successors,

18   assigns, and all persons in active concert or participation with it, from unlawfully failing to

19   provide equal employment opportunities to applicants for employment and employees with
20
     disabilities, including unlawfully making pre-employment offer medical inquires, and to
21
     accommodate applicants’ and employees’ disabilities, and any other employment practice which
22
     discriminates on the basis of disability.
23
             B.       Order Defendant to institute and carry out policies, practices, and programs which
24

25   provide equal employment opportunities for qualified individuals with disabilities, and which

26   eradicate the effects of its past and present unlawful employment practices.



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             C.      Order Defendant to make whole Ms. Cammack by providing appropriate back pay
1

2    with interest, in amounts to be determined at trial, and other affirmative relief necessary to

3    eradicate the effects of its unlawful employment practices.

4            D.      Order Defendant to make whole Ms. Cammack by providing compensation for
5
     past and future pecuniary losses resulting from the unlawful employment practices described in
6
     paragraphs 13-18 above, including past and future out-of-pocket losses, in amounts to be
7
     determined at trial.
8
             E.      Order Defendant to make whole Ms. Cammack by providing compensation for
9

10   past and future non-pecuniary losses resulting from the unlawful practices complained of in

11   paragraphs 13-18 above, including emotional pain, suffering, inconvenience, loss of enjoyment
12   of life, and humiliation, in amounts to be determined at trial.
13
             F.      Order Defendant to pay Ms. Cammack punitive damages for its malicious or
14
     reckless conduct, as described in paragraphs 13-18 above, in amounts to be determined at trial.
15
             G.      Order Defendant to make and preserve all records relevant to the determination of
16

17
     whether unlawful employment practices have been or are being committed, in accordance with

18   Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Section

19   709(c) of Title VII, 42 U.S.C. § 2000e-8(c).
20
             H.      Grant such further relief as the Court deems necessary and proper in the public
21
     interest.
22
             I.      Award the Commission its costs of this action.
23
                                           JURY TRIAL DEMAND
24

25           The Commission requests a jury trial on all questions of fact raised by its complaint.

26




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     DATED this 30th day of August 2019.
1

2
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3    Regional Attorney

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      Roberta L. Steele                                 General Counsel
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                                       CERTIFICATE OF SERVICE
1

2           I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the

3    Court using the CM/ECF system.

4

5

6
                     DATED this 30th day of August, 2019.
7

8
                                                           /s/ Rebecca Eaton_______
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